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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0196-GEB
12                                Plaintiff,             STIPULATION AND (PROPOSED) ORDER
                                                         TO CONTINUE STATUS CONFERENCE
13                          v.
                                                         Date:     July 26, 2019
14   MARTA JIMINEZ LOPEZ,                                Time:     9:00 a.m.
                                                         Judge:    Hon. Garland E. Burrell, Jr.
15                                Defendant.
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17          Plaintiff United States of America, through its undersigned counsel, and defendant Marta Jiminez
18 Lopez, through her counsel of record, stipulate that the status conference now set for July 26, 2019, be

19 continued to August 16, 2019, at 9:00 a.m.
20          On October 2, 2018, all three defendants were arraigned on the eight-count Indictment. (ECF
21 Nos. 15, 18.) In the weeks following, the government produced to the defense discovery that included

22 97 pages of reports and memoranda, approximately 250 photos, and a litany of audio and video

23 recordings from this investigation. Defense counsel for Ms. Jiminez Lopez requires additional time to

24 review these materials and discuss them with the client, time to conduct research into any potential

25 suppression issues or motions to dismiss, time to conduct additional investigation, and time to otherwise

26 prepare for trial.

27          Based on the foregoing, the parties stipulate that the status conference set for July 26, 2019, be
28 continued to August 16, 2019, at 9:00 a.m. The parties further agree that time under the Speedy Trial

      STIPULATION AND (PROPOSED) ORDER                   1
30    TO CONTINUE STATUS CONFERENCE
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 1 Act should be excluded from the date the parties stipulated, up to and including August 16, 2019, under

 2 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order 479, [Local

 3 Code T4], based on continuity of counsel and defense preparation.

 4          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The parties also agree that the ends of justice served by the Court granting the requested continuance

 7 outweigh the best interests of the public and the defendants in a speedy trial.

 8                                                       Respectfully submitted,

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10 Dated: July 25, 2019                                  _/s/ Timothy H. Delgado____________
                                                         TIMOTHY H. DELGADO
11                                                       Assistant United States Attorney
                                                         Attorney for Plaintiff United States
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13 Dated: July 25, 2019                                  _/s/ THD for Dustin D. Johnson_____
                                                         DUSTIN D. JOHNSON
14                                                       Attorney for Defendant Marta Lopez
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      STIPULATION AND (PROPOSED) ORDER                   2
30    TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00196-TLN Document 55 Filed 07/30/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, to and including August 16,

 9 2019, shall be excluded from computation of time within which the trial in this case must be commenced

10 under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and

11 General Order 479 [Local Code T4]. It is further ordered that the July 26, 2019 status conference be

12 continued to August 16, 2019, at 9:00 a.m.

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      Dated: July 28, 2019
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      STIPULATION AND (PROPOSED) ORDER                     3
30    TO CONTINUE STATUS CONFERENCE
